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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                  8:12CR376
                                         )
             v.                          )
                                         )
JORGE BAUTISTA-CRUZ,                     )                   ORDER
                                         )
                   Defendant.            )
                                         )


      Upon the suggestion of death of the defendant and as evidenced by a copy of
the death certificate filed herein as submitted by the United States Probation Officer
assigned to this matter,

      IT IS ORDERED that, as to this defendant, this case is dismissed without
prejudice.

      DATED this 26th day of June, 2013.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge
